Case 2:12-cv-00826-MHS-RSP Document 19 Filed 03/15/13 Page 1 of 2 PageID #: 64




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

 LIGHT TRANSFORMATION
 TECHNOLOGIES LLC,

                Plaintiff,

 V.                                                 Case No. 1 2-cv-826-JRG-RSP

 LIGHTING SCIENCE GROUP
 CORPORATION and HOME DEPOT U.S.A.,
 INC.,

                Defendants.

                                    NOTICE OF APPEARANCE

        Lighting Science Group Corporation and Home Depot U.S.A., Inc., Defendants in the

 above-entitled action hereby notify the Court and all parties that the following person is

 appearing as attorney of record:

        Adam Wolek
        THOMPSON COBURN LLP
        55 East Monroe Street, 37th Floor
        Chicago, Illinois 60603
        Phone: (312) 346-7500
        Facsimile: (312) 782-1041
        Email: awolek@thompsoncoburn.com

 Dated: March 15, 2013                     Respectfully submitted,


                                            Is/Adam Wolek

                                           Eric H. Findlay
                                           State Bar No. 00789886
                                           FINDLAY CRAFT, LLP
                                           6760 Old Jacksonville Highway
                                           Suite 101
                                           Tyler, Texas 75703
                                           (903) 534-1100
                                           efindlay@findlaycraft.com
Case 2:12-cv-00826-MHS-RSP Document 19 Filed 03/15/13 Page 2 of 2 PageID #: 65




                                              Kal K. Shah
                                              Adam Wolek
                                              THOMPSON COBURN LLP
                                              55 East Monroe Street, 37th Floor
                                              Chicago, Illinois 60603
                                              (312) 346-7500
                                              kshah@thompsoncoburn.com
                                              awolek@thomt,soncoburn.com

                                              Attorneys for Defendants Lighting Science Group
                                              Corporation and Home Depot US.A., Inc.


                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic
 service are being served with a copy of this document via the Court's CM/ECF system pursuant
 to Local Rule CV-5(a)(3) on March 15, 2013.

                                              /s/Adam Wolek
                                              Adam Wolek




                                                -2-
